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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
MATTHEW PLISKIN, AS TRUSTEE        )
OF THE ICPW NEVADA TRUST           )
     Plaintiff,                    )
                                   )
v.                                 )    Civil Action No. 3:19-cv-01179-K
                                   )
ROBERT GOLDSTEIN and DRG           )    JUDGE ED KINKEADE
STRATEGIC, LLC d/b/a MERIDIAN      )
GLOBAL,                            )
     Defendants.                   )

               NOTICE OF WITHDRAWAL OF CERTAIN DEFENSE COUNSEL

       DEFENDANTS Robert Goldstein and DRG Strategic, LLC d/b/a Meridian Global

(“Defendants”) give notice of the withdrawal of Joe H. Tuffaha and Prashanth Chennakesavan of

LTL Attorneys, LLP as counsel for Defendants. Bernie E. Hauder of Adkerson, Hauder & Bezney,

P.C. will remain as counsel for Defendants.

                                              Respectfully submitted,

                                              ADKERSON, HAUDER & BEZNEY, P.C.

                                              BY:            /s/ Bernie E. Hauder
                                                     BERNIE E. HAUDER
                                                     State Bar No. 09233600

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                                              ATTORNEYS FOR DEFENDANTS

                                     CERTIFICATE OF SERVICE
        This is to certify that on this, the 30th day of May, 2019 a true and correct copy of the above and
foregoing document has been forwarded to the counsel of record by electronic service.
                                                             /s/ Bernie E. Hauder
                                                     BERNIE E. HAUDER
